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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION


JOHN P. BAPTISTE                                             }       Case No. 1:19-cv-21589

PLAINTIFF                                                    }

                                                             }       COMPLAINT FOR DAMAGES

v.                                                           }       15 U.S.C. § 1692, et seq.

                                                             }       Fla. Stat. § 559.55, et seq.

STRALEY & OTTO, P.A.                                         }

DEFENDANT                                      }                     JURY TRIAL REQUESTED
_______________________________________________/



               COMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL



        1. Plaintiff JOHN P. BAPTISTE, through his attorney, brings this action to challenge the

actions of Defendant STRALEY & OTTO, P.A. for unlawful conduct in connection with debt

collection activity.

        2. The Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”) was designed

to protect citizens from such abuses perpetrated by debt collectors, like the ones described in this

complaint, and to protect citizens like Plaintiff. “There is abundant evidence of the use of abusive,

deceptive, and unfair debt collection practices by many debt collectors. Abusive debt collection

practices contribute to the number of personal bankruptcies, to marital instability, to the loss of jobs,

and to invasions of individual privacy.” Id. at § 1692(a)

        3. After the U.S. Congress passed the FDCPA, the Florida state legislature decided it wanted to

go even further to protect its citizens from the rampant abuses perpetrated by debt collectors. To this

end, the Florida state legislature passed the Florida Consumer Collections Practices Act, Fla. Stat. §§
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559.55-559.785 (“FCCPA”). The FCCPA was designed to protect consumers from harassment like the

type described within this complaint, and to protect consumers like Plaintiff. “In the event of any

inconsistency between any provision of this part and any provision of the federal act, the provision

which is more protective of the consumer or debtor shall prevail.” Id. at § 559.552.

         4. Plaintiff makes the allegations below on information and belief, with the exception of those

allegations that pertain to Plaintiff’s personal knowledge.

                                      JURISDICTION AND VENUE

         5. This action partially arises out of Defendant’s violations of the Fair Debt Collection Practices

Act (FDCPA), over which the U.S. District Court has original subject matter jurisdiction pursuant to 28

U.S.C. § 1331, 15 U.S. Code § 1692k, and Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012), and

Defendant’s violations of the Florida Consumer Collections Practices Act (FCCPA), over which the

U.S. District Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

         6. Because Defendant conducts business in the State of Florida and in this District by repeatedly

contacting Florida residents and residents of this District while attempting to collect upon consumer

debts, personal jurisdiction is established.

         7. Because all tortious conduct occurred while Plaintiff resided in the City of Miami Gardens,

County of Miami-Dade, and witnesses are located within such location, venue properly lies with this

court.

                                      PARTIES AND DEFINITIONS

         8. Plaintiff is a natural person.

         9. Defendant is a “debt collector” as such term is described by the FDCPA 15 U.S.C. §

1692a(6) because Defendant used instrumentalities of commerce within this state and District, the

principal purpose of which is the collection of debts. Additionally or alternatively, Defendant regularly

collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due

another.
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       10. Plaintiff was allegedly obligated to pay a “debt,” as such term is described by the FDCPA,

15 U.S.C. § 1692a(5), and the FCCPA, Fla. Stat. § 559.55(6), because he was allegedly obligated to

pay money arising out of a transaction in which the money, property, insurance, or services which are

the subject of the transaction are primarily for personal, family, or household purposes. Specifically,

Plaintiff was allegedly obligated to pay money allegedly owed under a special assessment levied by his

condominium association, “New World Condominium Apartments III Condominium Association, Inc.”

(“NWC”)

       11. Plaintiff is a “debtor” and “consumer” as those terms are described by the FDCPA 15

U.S.C. § 1692a(3) because he was allegedly obligated to pay a debt.

                                        FACTUAL ALLEGATIONS

       12. Plaintiff owns a condominium unit with NWC.

       13. On April 9, 2015, NWC mailed Plaintiff (and presumably all other unit owners) a letter

stating that NWC would conduct a board meeting on April 24, 2015. In this letter, NWC indicated that

there would be a “Special Assessment vote and approval by Board of Directors.” No other information

was given surrounding the possible levy of a special assessment.

       14. On April 24, 2015, NWC’s board did meet and did pass a special assessment. However, for

many reasons, this special assessment is invalid.

       15. First, section 13.4 of NWC’s condominium by-laws states that “The specific purpose of any

special assessment shall be set forth in a written notice of the special assessment sent to each Unit

Owner.” No such written notice giving the specific purpose was sent to any unit owner.

       16. Second, section 2.2 of NWC’s condominium by-laws states that “On issues affecting the

Association as a whole, Voting Interests having fifty (50%) percent plus one of the total votes of the

Association shall constitute a quorum.” There was no quorum at this special assessment meeting

affecting the Association as a whole.
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       17. Third, Fla. Stat. § 718.112(c)(1) states that “Notice of any meeting in which regular or

special assessments against unit owners are to be considered must specifically state that assessments

will be considered and provide the estimated cost and description of the purposes for such

assessments.” No such notice providing the estimated cost and description of the purposes for such

assessment was sent to any unit owner.

       18. Almost immediately after NWC passed this invalid special assessment, Plaintiff challenged

its legitimacy with anyone who sought payment from him, including multiple times with NWC directly.

Nevertheless, NWC, Defendant, and others continued to attempt to collect from Plaintiff amounts

allegedly owed and which he does not owe via a myriad of debt collection methods, including dunning

letters, threats of liens, threats of foreclosure, and ultimately a lawsuit seeking foreclosure.

       19. On November 6, 2018, Defendant mailed Plaintiff a dunning letter seeking to collect on the

special assessment debt allegedly owed by Plaintiff, as well as costs for “certified mail charges and

postage” of $7.00 (certified mail does not cost $7.00) and $285 for in “attorney’s fees” for the demand

letter (this is almost certainly an inflated amount of attorney’s fees).

       20. On December 12, 2018, Plaintiff mailed Defendant a letter stating that he does not owe the

money Defendant sought to collect on behalf of NWC, demanding that Defendant stop harassing him

for money he does not owe, and requesting validation of the alleged debt via “all document[s]

concerning this alleged special assessment.”

       21. On December 21, 2018, Defendant mailed Plaintiff a dunning letter seeking to collect on the

special assessment debt allegedly owed by Plaintiff, as well as informing Plaintiff that a “claim of lien”

was filed against his property. The claim of lien filed additionally seeks repayment for alleged

“certified mail” costs of $7.00 each and for an additional $415 in “attorney’s fees” for the claim of lien

(this is also almost certainly an inflated amount of attorney’s fees).

       22. On January 10, 2019, Defendant mailed Plaintiff a letter claiming to “provide payoff

figures” sent “at your request.” Plaintiff never requested payoff figures. Furthermore, this letter
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contained additional debt collection language, making this letter not simply informational but a second

instance of debt collection communication sent after the receipt of a demand to cease debt collection

communication.

       23. On February 19, 2019, Plaintiff’s attorney mailed Defendant a letter of representation,

additionally stating that Plaintiff’s attorney believed Defendant violated the FDCPA and FCCPA for

reasons substantially similar to the fact pattern described in the above paragraphs, and offered

settlement of the FDCPA and FCCPA claims under certain terms.

       24. On February 28, 2019, Defendant mailed Plaintiff’s attorney a letter in which Defendant SO

denied the allegations made by Plaintiff’s attorney in the February 19, 2019 letter.

       25. On March 20, 2019, Defendant filed a foreclosure lawsuit on behalf of NWC and against

Plaintiff -- Case Number 19-008683 CA 08 in the Circuit Court of the Eleventh Judicial Circuit in and

for Miami-Dade County, Florida – to foreclose upon the claim of lien, described in paragraph 21,

above, due to Plaintiff’s nonpayment of the alleged debt owed as a result of the invalid special

assessment described in paragraphs 14-17, above, and which Plaintiff does not actually owe on account

of the special assessment being invalid. In addition, at no point in this foreclosure lawsuit does

Defendant indicate that the communication is from a debt collector; with the exception of Defendant

having attached as an exhibit the December 21, 2018 “claim of lien” letter described in paragraph 21,

above, which did contain such language.

       26. As of April 25, 2019, during Defendant’s initial communication with Plaintiff, and in fact

during every one of Defendant’s communications with Plaintiff, Defendant failed to provide Plaintiff

with the full set of the following five disclosures: information regarding the amount of the debt; the

name of the creditor to whom the debt is owed; a statement that unless the consumer, within thirty days

after receipt of the notice, disputes the validity of the debt, or any portion thereof, the debt will be

assumed to be valid by the debt collector; a statement that if the consumer notifies the debt collector in

writing within the thirty-day period that the debt, or any portion thereof, is disputed, the debt collector
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will obtain verification of the debt or a copy of a judgment against the consumer and a copy of such

verification or judgment will be mailed to the consumer by the debt collector; and a statement that,

upon the consumer's written request within the thirty-day period, the debt collector will provide the

consumer with the name and address of the original creditor, if different from the current creditor.

Specifically, Defendant provided Plaintiff with only some of the above five disclosures -- not all of

them.

                                     FIRST CLAIM FOR RELIEF

                    Defendant’s violations of the FDCPA, 15 U.S.C. § 1692, et seq.

        27. Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1-26, as if fully set

forth herein.

        28. By contacting Plaintiff for the purposes of collecting upon an alleged debt after receiving

written notification that Plaintiff wished for Defendant to cease communication with Plaintiff,

Defendant has engaged in illegal practices under the FDCPA, 15 U.S.C. §1692c(c).

        29. By communicating with Plaintiff for debt collection purposes and falsely representing the

character, amount, or legal status of a debt by attempting to collect an amount from Plaintiff that

Plaintiff does not actually owe, Defendant has engaged in illegal practices in violation of the FDCPA,

15 U.S.C. §1692e(2)(A).

        30. By communicating with Plaintiff for debt collection purposes and using false

representations or deceptive means to collect or attempt to collect a debt or obtain information

concerning Plaintiff, Defendant has engaged in illegal practices in violation of the FDCPA, 15 U.S.C.

§1692e(10).

        31. By failing to disclose during a communication subsequent to the first that the

communication is from a debt collector, Defendant has engaged in illegal practices under the FDCPA,

15 U.S.C. § 1692e(11).
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       32. By contacting Plaintiff for the purposes of collecting upon an alleged debt that Plaintiff does

not actually owe in the manner alleged by Defendant, Defendant has used unfair and unconscionable

means to collect or attempt to collect a debt, including the collection of an amount not expressly

authorized by an agreement creating the debt or permitted by law, and has engaged in illegal practices

under the FDCPA, 15 U.S.C. § 1692f(1).

       33. By failing to provide Plaintiff with written notice within five days of the initial

communication with Plaintiff in connection with the collection of the debt, or during the initial

communication itself, the amount of the debt; the name of the creditor to whom the debt is owed; a

statement that unless the consumer, within thirty days after receipt of the notice, disputes the validity of

the debt, or any portion thereof, the debt will be assumed to be valid by the debt collector; a statement

that if the consumer notifies the debt collector in writing within the thirty-day period that the debt, or

any portion thereof, is disputed, the debt collector will obtain verification of the debt or a copy of a

judgment against the consumer and a copy of such verification or judgment will be mailed to the

consumer by the debt collector; and a statement that, upon the consumer's written request within the

thirty-day period, the debt collector will provide the consumer with the name and address of the

original creditor, if different from the current creditor, Defendant has engaged in illegal practices under

the FDCPA, 15 U.S.C. § 1692g(a).

       34. The FDCPA provides for actual damages and for statutory damages of $1,000.00 for

violation of the statute, 15 U.S.C. § 1692k(a)(1-2).

       35. The FDCPA provides for reasonable attorney's fees and costs in any successful action, 15

U.S.C. § 1692k(a)(3).

       36. 15 U.S.C. § 1692k(a)(1-2) entitles Plaintiff to actual damages and $1,000.00 in statutory

damages for Defendant’s violations of the FDCPA, 15 U.S.C. § 1692 et seq., and Plaintiff is so entitled.

       37. 15 U.S.C. § 1692k(a)(3) entitles Plaintiff to reasonable attorney's fees and costs upon

successful prosecution of this action, and Plaintiff is so entitled.
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        WHEREFORE, Plaintiff respectfully requests that this Court enters judgment against Defendant

and provides Plaintiff with the following relief:

        (a) Actual damages in the maximum amount the court deems proper and may provide.

        (b) Statutory damages in the amount of $1,000.00;

        (c) Reasonable attorney's fees and costs;

        (d) And any other relief as the court deems proper and may provide.

Plaintiff requests a jury for all claims so triable.

                                     SECOND CLAIM FOR RELIEF

                     Defendant’s violations of the FCCPA, Fla. Stat. § 559.55, et seq.

        38. Plaintiff repeats, re-alleges, and incorporates by reference paragraphs 1-26, as if fully set

forth herein.

        39. By communicating with Plaintiff for debt collection purposes and claiming, attempting, or

threatening to enforce a debt when Defendant knows that the debt is not legitimate, Defendant SO has

engaged in illegal practices in violation of the FCCPA, Fla. Stat. § 559.72(9).

        40. By filing a lawsuit on behalf of NWC against Plaintiff for debt collection purposes when

Defendant knows that NWC has no entitlement to collect on any debt from Plaintiff, Defendant

claimed, attempted, or threatened to enforce a debt when Defendant knows that the debt is not

legitimate and has engaged in illegal practices in violation of the FCCPA, Fla. Stat. § 559.72(9).

        41. The FCCPA provides for actual damages and statutory damages of $1,000.00 for violation

of the statute, Fla. Stat. § 559.77(2).

        42. The FCCPA provides for reasonable attorney's fees and costs in any successful action, Fla.

Stat. § 559.77(2).

        43. The FCCPA provides for a court to impose punitive damages and such equitable relief as it

deems necessary or proper, including enjoining the defendant from further violations of this part, Fla.

Stat. § 559.77(2).
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        44. Fla. Stat. § 559.77(2) entitles Plaintiff to actual damages and $1,000.00 in statutory damages

for Defendant SO’s violations of the FCCPA, Fla. Stat. § 559.72, et seq., and Plaintiff is so entitled.

        45. Fla. Stat. § 559.77(2) entitles Plaintiff to reasonable attorney's fees and costs upon

successful prosecution of this action, and Plaintiff is so entitled.

        WHEREFORE, Plaintiff respectfully requests that this Court enters judgment against Defendant

and provides Plaintiff with the following relief:

        (a) Actual damages in the maximum amount the court deems proper and may provide.

        (b) Statutory damages in the amount of $1,000.00;

        (c) Reasonable attorney's fees and costs;

        (d) Punitive damages in the maximum amount the court deems proper and may provide;

        (e) And any other relief as the court deems proper and may provide.

Plaintiffs requests a jury for all claims so triable.

        Respectfully submitted this 25th day of April, 2019,

              By Plaintiff's attorney: /s/ Nicholas Michael Murado
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